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     1                          UNITED STATES DISTRICT COURT
     2                        CENTRAL DISTRICT OF CALIFORNIA
     3
     4 IRISH ROVER ENTERTAINMENT,                    Case No. 20-cv-06293-CBM-PLA
       LLC, a California limited liability
     5
       company,                                      STIPULATION FOR DISMISSAL
     6
                ,                                    Lodged Concurrently: [Proposed] Order
     7
     8            vs.                                Judge: Hon. Consuelo B. Marshall
     9
         AARON SIMS, an individual; MATT
    10   DUFFER, an individual; ROSS
         DUFFER, an individual; NETFLIX,
    11
         INC., a Delaware corporation;
    12   NETFLIX STREAMING SERVICES,
    13   INC., a Delaware corporation; 21
         LAPS, INC., a California Corporation;
    14   and DOES 1 through 50, inclusive,
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                        .
    16
    17
    18            Plaintiff Irish Rover Entertainment, LLC and Defendants Aaron Sims, Matt
    19 Duffer, Ross Duffer, Netflix, Inc., Netflix Streaming Services, Inc., and 21 Laps, Inc.
    20 stipulate and agree to the dismissal of this matter in its entirety, with prejudice. Each
    21 party shall bear its own attorneys’ fees and costs incurred in this action.
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                                        STIPULATION FOR DISMISSAL
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     1 DATED: August 11, 2023                    ROBINS KAPLAN LLP
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     3                                           By: /s/ Patrick M. Arenz
     4                                               PATRICK M. ARENZ
                                                 Attorneys for Plaintiff
     5
     6 DATED: August 11, 2023                    LOEB & LOEB LLP
     7
     8                                           By: /s/ David Grossman
     9                                               David Grossman
                                                 Attorneys for Defendants
    10
    11
                  In accordance with Civil Local rule 5-4.3.4(a)(2)(i), the filer attests that each
    12
         of the above signatories has concurred in the filing of this document.
    13
    14
         DATED: August 11, 2023
    15
                                                 By: /s/ Patrick M. Arenz
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                                                     PATRICK M. ARENZ
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